Case 2:04-Cv-02576-.]PI\/|-tmp Document 61 Filed 08/08/05 Pagerl 0f2 Page|D 55

 

IN THE UNITEI) STATES DISTRICT CoURT W-ED BY %/_ fm
FoR THE wESTERN DISTRICT 0F TENNESSEE
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assesses
MARK CRAIG BAGWELL, » ¢ 5
§ W;Dc§ if\.i'. irz-Ms
Plaiotiff, )
)
vs ) Civil Action No.: 04-2576-M1/P
)
MEMPHls-sHELBY COUNTY AIRPORT )
AUTHoRITY, LARRY CoX, and )
MIKE HILL, )
)
Defendants. )

 

ORDER GRANTING DEFENDANTS'
UNOPPOSED MOTION FOR EXTENSION OF TIME TO
SUBM!T EXPERT WITNESS DISCLOSURE

 

NOW BEFORE THE COURT COMES Defendants' Unopposed Motion for Extension
of Time to Subrnit Expert Witness DiscIosure. For good cause shown, the Defendaiits' Motion is
hereby granted. It is, therefore, ordered that the deadline for Defendants to submit expert witness
disclosures be extended until fifteen (15) days following the Court's resolution of the Order to

Show Cause and Plaintiff's Motion for Voluntary Dismissal Without Prejudice.
IT ls so oRDERED, this 5 day of \r oy\- 7,8\_§-

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JUDGE JeN-Pi-l-I-PPs-Me€xr:r:x "'t`~.> M .Qk¢n~.

UNITED STATES D{-s=i=mei>-JUDGE
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Notice of Distribution

This notice confirms a copy of the document docketed as number 61 in
case 2:04-CV-02576 Was distributed by faX, mail, or direct printing on
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David P. J aqua

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Honorable J on McCalla
US DISTRICT COURT

